Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 1 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 2 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 3 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 4 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 5 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 6 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 7 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 8 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 9 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 10 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 11 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 12 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 13 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 14 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 15 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 16 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 17 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 18 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 19 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 20 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 21 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 22 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 23 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 24 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 25 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 26 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 27 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 28 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 29 of 30
Case 16-34028 Document 1498-6 Filed in TXSB on 08/24/20 Page 30 of 30
